

   TYACK, J., dissenting.
  

   {¶ 53} I do not see how we can find that the termination of community control or the failure to terminate community control does not involve a substantial right. I believe that the State of Ohio should have appealed the trial court's order terminating community control. The failure of the State of Ohio to do so ended this case.
  

   {¶ 54} Daniel Nichter had done everything required of him. He no longer had to report to a probation officer. He was relieved of all responsibilities attendant to being on community control. The State of Ohio lost all its control of Nichter. The state needed to appeal that loss of control and did not do so.
  

   {¶ 55} I would affirm the ruling of the trial court. Because the majority of this court does not do so, I dissent.
  
